           Case 2:11-cr-00134-WBS Document 138 Filed 05/06/13 Page 1 of 3


1    JOSEPH SCHLESINGER, Bar# 87692
     Acting Federal Defender
2    MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     JOSE MEDRANO
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )      Cr.S. 11-134-JAM
12                                )
                  Plaintiff,      )              AMENDED
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: May 14, 2013
     JUAN LOPEZ ALVARADO et al, )        Time: 9:45 a.m.
15                                )      JUDGE: Hon. John A. Mendez
                  Defendants.     )
16                                )
     ____________________________ )
17
18       It is hereby stipulated and agreed to between the United States of
19   America through, MICHAEL BECKWITH, Assistant U.S. Attorney, defendant,
20   JOSE MEDRANO by and through his counsel, MATTHEW M. SCOBLE, Assistant
21   Federal Defender,that the status conference set for Tuesday, May 7,
22   2013, be continued to Tuesday, May 14, 2013, at 9:45 a.m.
23       The reason for this continuance is to allow defense counsel
24   additional time to review discovery with the defendant, to examine
25   possible defenses and to continue investigating the facts of the case.
26   Defendant Jose Medrano and his attorney have been in negotiations with
27   the government and are close to reaching an agreement.          Counsel for Mr.
28   Medrano anticipates that by the requested court date, May 14, Mr.
          Case 2:11-cr-00134-WBS Document 138 Filed 05/06/13 Page 2 of 3


1    Medrano will be prepared to enter a change of plea.
2        The parties agree that the requested continuance is necessary to
3    provide defense counsel reasonable time necessary for effective
4    preparation, taking into account the exercise of due diligence.       The
5    parties agree that the ends of justice to be served by a continuance
6    outweigh the best interests of the public and the defendants in a
7    speedy trial, and they ask the Court to exclude time within which the
8    trial of this matter must be commenced under the Speedy Trial Act from
9    the date of this stipulation, May 3, 2013, through May 14, 2013,
10   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4,
11   pertaining to reasonable time for defense preparation.
12
13   Dated: May 3, 2013                 Respectfully submitted,
14                                      JOSEPH SCHLESINGER
                                        Acting Federal Defender
15
16                                      /s/ Matthew M. Scoble
                                        MATTHEW M. SCOBLE
17                                      Assistant Federal Defender
                                        Attorney for JOSE MEDRANO
18
19
20   Dated: May 3, 2013                 BENJAMIN B. WAGNER
                                        United States Attorney
21
22                                      /s/ Matthew M. Scoble for
                                        MICHAEL BECKWITH
23                                      Assistant U.S. Attorney

24
                                       O R D E R
25
26
27       The Court having received, read, and considered the stipulation of

28   the parties and good cause appearing therefrom, the Court adopts the


                                            2
          Case 2:11-cr-00134-WBS Document 138 Filed 05/06/13 Page 3 of 3


1    parties' stipulation as its order in its entirety.        It is ordered that
2    the status conference presently set for May 7, 2013, be continued to
3    May 14, 2013, at 9:45 a.m.    The Court hereby finds that the requested
4    continuance is necessary to provide defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise
6    of due diligence.   The Court finds the ends of justice to be served by
7    granting a continuance outweigh the best interests of the public and
8    the defendants in a speedy trial.
9        It is ordered that time from the date of the parties’ stipulation,
10   May 3, 2013, up to and including, the May 14, 2013, status conference
11   shall be excluded from computation of time within which the trial of
12   this matter must be commenced under the Speedy Trial Act pursuant to 18
13   U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense
14   counsel reasonable time to prepare).
15       IT IS SO ORDERED.
16   Dated: 5/3/2013                    /s/ John A. Mendez
                                        HON. JOHN A. MENDEZ
17                                      United States District Court Judge
18
19
20
21
22
23
24
25
26
27
28


                                            3
